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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                             Case No. 11-20188
       vs.
                                             HON. GEORGE CARAM STEEH
 BERNARD EDMOND,

               Defendant.
 _____________________________/

  ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION
   AND GRANTING CERTIFICATE OF APPEALABILITY [ECF No. 407]

       This matter comes before the Court on defendant Bernard Edmond’s

 motion for reconsideration of the order denying his motion to vacate, set

 aside or correct his sentence under 28 U.S.C. § 2255 (ECF No. 401).

 Alternatively, defendant seeks a certificate of appealability. The issues

 were thoroughly briefed and argued by counsel, and the Court addressed

 each of defendant’s arguments in its opinion and order. Because

 defendant raises the same arguments in his motion for reconsideration, the

 Court denies the motion.

       In order for a certificate of appealability to issue, the applicant must

 make “a substantial showing of the denial of a constitutional right.” 28

 U.S.C. § 2253(c)(2); Fed. R. App. P. 22; Slack v. McDaniel, 529 U.S.

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 473, 484 (2000) (petitioner may make such a showing by demonstrating

 that "reasonable jurists could debate whether . . . the petition should have

 been resolved in a different manner or that the issues presented were

 ‘adequate to deserve encouragement to proceed further.’" (citation

 omitted)). The Court finds that reasonable jurists could debate whether the

 carjacking charges defendant was convicted of under a coconspirator

 theory of liability (Pinkerton conspiracy) qualify as substantive crimes of

 violence under the elements clause of 18 U.S.C. § 924(c)(3)(A).

       The Court therefore grants defendant’s request for a certificate of

 appealability only as to the issue of whether his carjacking convictions,

 charged as substantive offenses but argued, supported and instructed

 under a coconspirator theory of liability, qualify as crimes of violence under

 § 924(c)(3)(A).

       Now, therefore,

       IT IS HEREBY ORDERED that defendant’s motion for

 reconsideration is DENIED.

       IT IS HEREBY FURTHER ORDERED that defendant’s request for a

 certificate of appealability is GRANTED.

 Dated: October 21, 2020
                                     s/George Caram Steeh
                                     GEORGE CARAM STEEH
                                     UNITED STATES DISTRICT JUDGE
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